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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov


    In re:                                                 Case No. 22-14959-LMI
    ISAAC   HALWANI       and    GISELLE                   Case No. 22-14810-LMI
    HALWANI, and 274 ATLANTIC ISLES, LLC,
                                                           Chapter 11
           Debtors.
                                                           Jointly Administered at Case No. 22-
    _____________________________________/                 14959-LMI


    BRIAN M. GAINES, AS TRUSTEE UTA 3/4/2019’S RESPONSE IN OPPOSITION TO
             DEBTORS’ MOTION FOR SUBSTANTIVE CONSOLIDATION

         Brian M. Gaines, as Trustee UTA dated 3/4/2019 (the "Trustee") opposes the Debtors’

Motion for Substantive Consolidation [ECF No. 49] (the “Motion”), and in support states as

follows:

                                           INTRODUCTION

         The Motion is a transparent attempt to avoid the consequences of 274 Atlantic Isles, LLC’s

(“274 Atlantic”) initial bad faith filing. But as the Eleventh Circuit found in Phoenix Piccadilly,

the consequences of a bad faith filing do not change simply because of possible equity in property

or the potential for a successful reorganization.1 That is precisely what the Debtors seek to do with

substantive consolidation – erase the consequences of 274 Atlantic’s bad faith filing by

consolidating with the Halwanis and pointing to the possible equity in the Residential Property

and the potential for the successful reorganization by the Halwanis. But the Debtors have failed to

meet their burden in seeking this extraordinary equitable remedy, and instead seek to use

substantive consolidation as a sword against the Trustee to keep 274 Atlantic in bankruptcy. The


1
         In re Phoenix Piccadilly, Ltd., 849 F.2d 1393, 1395 (11th Cir. 1988).


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Trustee, as the overwhelmingly predominant creditor of 274 Atlantic (if not the owner of the

Residential Property),2 should not be dragged into the Halwani’s mess of a bankruptcy case with

multitudes of known creditors (and perhaps far more unknown creditors, as amended schedules

have been supposedly forthcoming for several weeks now), when the Debtors cannot meet their

burden to show that substantive consolidation is necessary to avoid a harm or realize a benefit.

Everything that the Debtors seek to accomplish through substantive consolidation can be

accomplished without it. The Motion should be denied. Alternatively, given that the claims bar

date has not yet passed, the Halwanis have not yet filed amended schedules, and the full extent of

both the creditor and debtor body are unknown to creditors and this Court, it is premature to

substantively consolidate the cases before the true extent of the potential harm to creditors can be

evaluated, and a hearing on the Motion should be continued to a later date.

                          FACTUAL & PROCEDURAL BACKROUND

        1.      In March 2019, the trust loaned $1.5 million to TCB & GSD Consulting LLC

(“TCB”), a company wholly owned by the Halwanis. As security, 274 Atlantic gave the trust a

mortgage on a parcel improved real estate located at 274 Atlantic Avenue, Sunny Isles Beach, FL

33160 (the “Residential Property”). 274 Atlantic and the Halwanis also guaranteed the loan.

        2.      After the loan was modified numerous times to extend its term and increase the

amount of the borrowing to $2 million, 274 Atlantic, TCB, and the Halwanis defaulted. The parties

then signed a Forbearance Agreement in December 2020, pursuant to which 274 Atlantic, TCB,




2
         While 274 Atlantic contends that its state court counsel Eric Stein is also a creditor in the amount
of $36,766.30 [see ECF No. 25 in the 274 Atlantic case], the Halwanis have also listed Mr. Stein as a
creditor in the same amount in their schedules [see ECF No. 40]. It is unclear what portion, if any, of that
debt is owed by 274 Atlantic and what portion is owed by the Halwanis. In any event, the debt owed to Mr.
Stein is dwarfed by the millions owed to the trust on the schedules [see ECF No. 25 in the 274 Atlantic
case].


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and the Halwanis agreed, among other things, to cure the default, bring the loan current, and make

certain payments within an agreed-upon timeframe. If they did not, the trust would be entitled to

record a deed in lieu of foreclosure, and the indebtedness would be satisfied.

       3.      274 Atlantic, TCB, and the Halwanis did not comply with their obligations and the

trust recorded the deed in lieu of foreclosure in April 2021 (the “Deed in Lieu”), thereby satisfying

the debt. After the trust took title, the Halwanis agreed to lease the Residential Property from the

Trustee, i.e., the new owner. Then, they defaulted on that lease.

       4.      On May 25, 2021, the Trustee on behalf of the trust commenced an action in state

court to eject the Halwanis and 274 Atlantic from the Residential Property. Before the Debtors

filed their petitions, the state court case was very active, with 274 Atlantic filing counterclaims

against the Trustee to vindicate its alleged ownership in the Residential Property and third-party

claims for unjust enrichment against Mr. Gaines and an entity he is affiliated with, LBM

Enterprises, LLC (“LBM”) relating to the alleged transfer of $100,000 from a non-debtor entity,

Frozen Wheels, LLC, to LBM and the alleged transfer of a Porsche from Mr. Halwani to Mr.

Gaines.

       5.      On February 21, 2022, following an evidentiary hearing on the Trustee’s motion to

appoint a receiver, the state court entered an order denying the Trustee’s request for appointment

of a receiver, but requiring, among other things, the Halwanis to cure rent arrears, pay rent in the

amount of $35,000 to the Trustee’s counsel’s trust account on the ninth of each month, and

maintain necessary insurance on the Residential Property (the “State Court Order”).3

       6.      On June 14, the state court entered an order compelling the Halwanis to appear for



3
       A copy of the State Court Order can be found at ECF No. 14, p. 126 of 218 in Case No. 22-14810-
LMI.


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their depositions on June 22, 2022.

       7.        On June 22, 2022, the morning of the Halwani’s depositions, 274 Atlantic filed its

chapter 11 petition, and on June 27, 2022, the Halwanis filed their chapter 11 petition.

       8.        On June 29, 2022, the Trustee filed his Motion to Dismiss the 274 Atlantic

bankruptcy case [ECF No. 17 in 22-14810-LMI] asserting that it was filed in bad faith and that

each of the Phoenix Piccadilly factors were satisfied where:

                    a. 274 Atlantic has only one asset;

                    b. 274 Atlantic has only one unsecured creditor, which is its state court counsel

                        in the state court litigation against the Trustee;

                    c. 274 Atlantic has no employees;

                    d. The Residential Property is subject to a pending ejectment action;

                    e. 274 Atlantic’s financial problems are a two-party dispute that can be

                        resolved in the pending state court litigation; and

                    f. The filing of 274 Atlantic and not the Halwanis’ petition on the morning of

                        the Halwanis’ deposition evidenced the Debtors’ intent to delay and

                        frustrate the Trustee’s efforts to enforce the trust’s rights.

       9.        The Motion to Dismiss also asserted that the 274 Atlantic case should be dismissed

for lack of good faith because there is no prospect or need for reorganization of 274 Atlantic.

       10.       The § 341 meeting of creditors was held on July 29, 2022. The Halwani’s testimony

in several areas was quite concerning, and a number of issues arose, including but not limited to

the following:

             a. First, the Halwanis have not filed tax returns since 2018; the IRS has filed a proof




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                   of claim, but the claim is currently only estimated.4

            b. Second, it was represented that amended schedules would be forthcoming from the

                   Halwanis, as at least one unexpired lease was missing, and various creditors

                   appeared to be missing.

            c. Third, despite the Halwanis’ repeated representations at the hearing before this

                   Court on July 14, 2022 and afterward that they would be moving out of the

                   Residential Property in August 2022 and moving into one of the condos that they

                   own, they in fact are not moving out in August, and instead extended their tenant’s

                   lease for an additional six months (through the end of January 2023) and will

                   remain in the Residential Property. Mr. Halwani also represented at the § 341

                   meeting that the Halwanis would be paying the $35,000 per month rent required by

                   the State Court Order, but as of the filing of this Response, have still failed to pay

                   the $35,000 due for July and $35,000 due for August.

            d. Fourth, within the two years prior to filing bankruptcy, the Halwanis made a

                   commitment to donate $200,000 or more to their children’s’ private school. While

                   Mr. Halwani represented that the Halwanis no longer intend to fulfill that

                   commitment, it is unknown what other commitments or transfers may have been

                   made and not disclosed in the schedules.

            e. And fifth, the only other creditor listed in 274 Atlantic’s petition besides its state

                   court counsel, Coraline, Ltd., was in fact not a creditor on the petition date, and was

                   only an entity which the Debtors were going to use to get a loan but did not.

                   Presumably, this “creditor” was included on the petition to avoid the appearance


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    See POC 2-1.


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                that the Trustee was the only meaningful creditor.

        11.     The Halwanis have also referenced filing chapter 11 for one or more of their other

entities, which they would also presumably seek to substantively consolidate with their case. In

their schedules, the Halwanis listed 18 entities they own in whole or in part. Based on the § 341

meeting, there may be more than 18 entities that the Halwanis own an interest in. It is entirely

unknown at this time what liabilities and assets these other entities might have.

        12.     As of the filing of this Response, the Halwanis have not filed amended schedules,

and have not paid the $35,000 that was due on July 9, 2022 or the $35,000 was due on August 9,

2022 as required by the State Court Order.

        13.     The claims bar date in the Halwanis’ case is September 6, 2022.

                            LEGAL ARGUMENT & AUTHORITIES

        As this Court has previously stated, “substantive consolidation is an equitable remedy to

be used ‘sparingly’ and with caution.” In re S & G Fin. Services of S. Fla., Inc., 451 B.R. 573, 579

(Bankr. S.D. Fla. 2011), citing Eastgroup Properties v. S. Motel Ass'n, Ltd., 935 F.2d 245, 248

(11th Cir. 1991). In the Eleventh Circuit, “the proponent of substantive consolidation must show

that (1) there is substantial identity between the entities to be consolidated; and (2) consolidation

is necessary to avoid some harm or to realize some benefit.” Eastgroup Properties, 935 F.2d at

249. “When this showing is made, a presumption arises that creditors have not relied solely on the

credit of one of the entities involved.” Id. (internal quotation marks and citation omitted). “Once

the proponent has made this prima facie case for consolidation, the burden shifts to an objecting

creditor to show that (1) it has relied on the separate credit of one of the entities to be consolidated;

and (2) it will be prejudiced by substantive consolidation.” Id. (internal citations omitted). “[I]f an




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objecting creditor has made this showing, the court may order consolidation only if it determines

that the demonstrated benefits of consolidation heavily outweigh the harm.” Id. (internal quotation

marks and citation omitted).

   A. The Debtors have failed to make a prima facie showing for substantive consolidation.

       Various factors are reviewed by courts in determining whether there is a substantial identity

between the entities to be consolidated, including but not limited to:

       (1) The degree of difficulty in segregating and ascertaining individual assets and liability;

       (2) The presence or absence of consolidated financial statements;

       (3) The profitability of consolidation at a single physical location;

       (4) The commingling of assets and business functions;

       (5) The unity of interests and ownership between the various corporate entities;

       (6) The existence of parent and inter-corporate guarantees on loans; and

       (7) The transfer of assets without formal observance of corporate formalities.

S & G Fin. Services, 451 B.R. at 584 (Bankr. S.D. Fla. 2011) (internal citation omitted).

       The majority of these factors weigh against substantive consolidation in this case.

       The degree of difficulty in segregating and ascertaining individual assets and liability. The

factor weighs against consolidation. There is no difficulty in ascertaining the individual assets and

liabilities of the Halwanis and 274 Atlantic, because 274 Atlantic has only one potential asset, and

only one potential creditor apart from the Trustee.

       The presence or absence of consolidated financial statements. To the Trustee’s knowledge,

there are no consolidated financial statements.

       The profitability of consolidation at a single physical location. The Debtors are arguably




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already in a single physical location (that neither of them has been paying for), the Residential

Property.

        The commingling of assets and business functions. 274 Atlantic has no business functions.

The Halwanis claim that 274 Atlantic has never had a bank account and that they paid all expenses

related to the Residential Property personally. If true, there were no assets of 274 Atlantic to

commingle. As with the first factor, there is no difficulty segregating assets and business functions

between and among the Debtors.

        The unity of interests and ownership between the various corporate entities. The Trustee

does not dispute that the Halwanis are the sole members of 274 Atlantic.

        The existence of parent and inter-corporate guarantees on loans. To the Trustee’s

knowledge, there are no loans to the Halwanis guaranteed by 274 Atlantic, and no loans to 274

Atlantic guaranteed by the Halwanis. The original loan secured by the mortgage on the Residential

Property was given to TCB, a non-debtor entity. 274 Atlantic and the Halwanis guaranteed the

loan.

        The transfer of assets without formal observance of corporate formalities. The Debtors

assert that 274 Atlantic has never had a bank account and that the Halwanis have paid directly for

all expenses of the Residential Property, which the Trustee assumes the Halwanis are claiming to

have done without observing corporate formalities. However, it does not appear that there has been

commingling or transfer of assets back and forth between 274 Atlantic and the Halwanis, and only

that the Halwanis and not 274 Atlantic have paid for various expenses associated with living at the

Residential Property.

        The examination made by the court before ordering consolidation is not merely a cursory




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one. Indeed, “a bankruptcy court must conduct a searching inquiry to ensure that consolidation

yields benefits that would offset the harm it inflicts on objecting parties.” In re Alico Mining, Inc.,

278 B.R. 586, 589 (Bankr. M.D. Fla. 2002). Here, the benefits to be yielded from consolidation

are slim to non-existent. The Debtors claim that consolidation is necessary to avoid continued harm

but fail to state what that harm is. The Debtors go on to claim that consolidation will allow the

Halwanis’ estate to directly realize the recovery of the Residential Property, which will be used to

fund a plan of reorganization. However, consolidation is not necessary to achieve this result. The

Halwanis are the sole members of 274 Atlantic, and in the event 274 Atlantic is successful in its

claims against the Trustee to recover the Residential Property, the Halwanis can cause 274 Atlantic

to do as they wish with the Residential Property, including selling it and distributing proceeds from

any equity to the Halwanis, which they in turn can use to fund their plan. None of this necessitates

consolidation. The true purpose is to hide the fact that the 274 Atlantic case was a classic bad faith

filing.

    B. The Trustee lent to a non-debtor entity and will be prejudiced by substantive
       consolidation.

          Even if the Court determines that the Debtors have satisfactorily shown both a substantial

identity of the Debtors and a necessity for substantive consolidation, the Court may still deny

substantive consolidation. Under Eastgroup Properties, if the proponent of consolidation makes a

prima facie case for consolidation, “the burden shifts to an objecting creditor to show that (1) it

has relied on the separate credit of one of the entities to be consolidated; and (2) it will be

prejudiced by substantive consolidation.” 935 F.2d at 249 (emphasis added, internal citations

omitted).




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       The trust lent to TCB, a non-debtor entity. The entities sought to be consolidated are 274

Atlantic and the Halwanis, thus, the trust did not and would not have relied on the separate credit

of either of the entities to be consolidated in making the loan. The amount of the loan to TCB

secured by the mortgage given by 274 Atlantic was based on the value of the Residential Property,

an asset at the time owned solely by 274 Atlantic and unrelated to the Halwanis’ individual

creditworthiness or assets.

       The Court and the creditors do not know the extent of the creditor body. The Halwanis

have yet to amend their schedules, and the claims bar date is September 6, 2022. The Court and

the creditors also do not know the extent of the debtor body yet, given that reference has been

made to filing chapter 11 for one or more additional Halwani-affiliated entities, which the Debtors

will also presumably seek to substantively consolidate. And importantly, the IRS is a creditor of

the Halwanis given their failure to file tax returns since 2018. The IRS has filed an estimated claim

– the Trustee does not know whether the taxes owed by the Halwanis could result in the imposition

of a tax lien, which, if the estates are substantively consolidated, may attach to the Residential

Property. See, e.g., In re Cooper, 147 B.R. 678, 682 (Bankr. D.N.J. 1992). In section 12(b) of the

mortgage, 274 Atlantic agreed not to encumber the Residential Property, either voluntarily or

involuntarily, directly or indirectly, by operation or law or otherwise, without the Trustee’s prior

written consent. The Trustee bargained for the Residential Property to be free and clear as part of

its agreement to lend to TCB – not potentially encumbered by liens that would otherwise be limited

to the Halwanis’ individual assets. In addition to being a breach of the mortgage, the imposition

of a tax lien on the Residential Property could certainly prejudice the Trustee if 274 Atlantic is

successful in its claims to invalidate the Deed in Lieu. While the Debtors have stated that the




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Residential Property is worth $6.5 million, no proof has been offered to substantiate that valuation,

thus there is no certainty that there will be any equity cushion at all to protect the Trustee from

what is, frankly, unknown at this time given the apparently substantial amendments that need to

be made to the Halwani’s schedules and the outstanding claims bar date.

       The Trustee submits that he has made the required showing of an objecting creditor under

Eastgroup Properties, thus, “the court may order consolidation only if it determines that the

demonstrated benefits of consolidation heavily outweigh the harm.” Eastgroup Properties, 935

F.2d at 249 (internal quotation marks and citation omitted). For the reasons discussed above, there

is no benefit to be realized by substantive consolidation that cannot be accomplished without it.

Thus, it cannot be said that the demonstrated benefits, if any at all, heavily outweigh the harm that

may be realized by the Trustee.

                                         CONCLUSION

       Substantive consolidation is an equitable remedy to be used sparingly, and only when

necessary. These cases do not call for its use. The Court should deny the Motion. Alternatively,

given the outstanding amendments, upcoming claims bar date, and the potential for even more

debtors, the Court should continue the hearing to a later date to allow for a full briefing schedule

and evidentiary hearing.

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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on August

15, 2022 via the Court's Notice of Electronic Filing upon the Registered Users listed on the

attached Exhibit A and via U.S. Mail upon the parties listed on the attached Composite Exhibit

B.


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                                        mmurphy@melandbudwick.com
                                        Solomon B. Genet, Esquire
                                        Florida Bar No. 617911
                                        sgenet@melandbudwick.com
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                                        200 South Biscayne Boulevard
                                        Miami, Florida 33131
                                        Telephone: (305) 358-6363
                                        Facsimile: (305) 358-1221

                                        Attorneys for Brian M. Gaines, as Trustee




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Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

       John P Arcia parcia@arcialaw.com,
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                                                                                        EXHIBIT A
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Label Matrix for local noticing                274 Atlantic Isles LLC                          Causeway Square
113C-1                                         274 Atlantic Isles                              Law Offices of Carla Jones, PA
Case 22-14959-LMI                              Sunny Isles, FL 33160-4528                      1125 NE 125 Street
Southern District of Florida                                                                   Suite 103
Miami                                                                                          North Miami, FL 33161-5014
Mon Aug 15 14:29:46 EDT 2022
FTLQ CREDIT I, LLC, as Assignee of Sky 18 Se   First Horizon Bank f/k/a Iberiabank             Keystone Plaza
John Paul Arcia, PA                            The Law Offices of Jason C. Tatman, A.P.        c/o Carla A. Jones
175 SW 7th Street                              5677 Oberlin Drive                              Law Office of Carla Jones, P.A.
Suite 2000                                     Suite 210                                       550 NE 124 Street
Suite 2000                                     San Diego, CA 92121-1742                        Miami, FL 33161-5424
Miami, FL 33130-2961
Phirik Investment Group, LLC                   Synchrony Bank                                  VIPIG Holdings, LLC
656 W. Palm Aire Drive                         PRA Receivables Management, LLC                 400 NE 3rd Avenue
Pompano Beachh, Fl 33069-5549                  PO Box 41021                                    Apt. 1109
                                               Norfolk, VA 23541-1021                          Ft. Lauderdale, FL 33301-3599


Yellowstone Capital, LLC                       501 NE 183 LLC                                  ACAR Leasing LTD d/b/a GM Financial Leasing
18403 West Dixie Highway                       172 South Broadway                              P.O. Box 183853
Miami, FL 33160-2047                           White Plains, NY 10605-1800                     Arlington, TX 76096-3853



(p)AR RESOURCES INC                            ATCF II Florida A LLC                           Alaimo Group USA LLC
PO BOX 1056                                    PO Box 69239                                    c/o Carlos F. Osorio, Esq.
BLUE BELL PA 19422-0287                        Baltimore, MD 21264-9239                        175 SW 7th Street, Suite 1900
                                                                                               Miami, FL 33130-2960


Ally Financial                                 Altonstar LLC                                   Altonstar LLC
200 Renaissance Ctr #B0                        1407 Broadway 41st Floor                        c/o Jerry Breslin, Esq.
Detroit, MI 48243-1300                         New York, NY 10018-2348                         169 East Flagler Street, Suite 700
                                                                                               Miami, FL 33131-1203


Amazon                                         Amazon                                          Ameican Express NA
410 Terry Ave N.                               PO Box 965015                                   115 W Towne Ridge Pkwy
Seattle, WA 98109-5210                         Orlando, FL 32896-5015                          Sandy, UT 84070-5511



American Express                               American Express                                American Express
P.O. Box 6618                                  PO Box 650448                                   PO Box 981535
Omaha, NE 68106-0618                           Dallas, TX 75265-0448                           El Paso, TX 79998-1535



American Express                               American Express                                American Express National Bank
PO Box 981537                                  c/o Scott E. Modlin, Esq.                       c/o Becket and Lee LLP
El Paso, TX 79998-1537                         1551 Sawgrass Corporate Pkwy, Suite 110         PO Box 3001
                                               Fort Lauderdale, FL 33323-2832                  Malvern PA 19355-0701


American Express/Bloomingdales                 Andrea Palant                                   Apple Card
PO BOX 981537                                  3340 NW 53rd Street, Suite 402                  Apple Headquarters
El Paso, TX 79998-1537                         Fort Lauderdale, FL 33309-6320                  One Apple Park Way
                                                                                               Cupertino, CA 95014-0642
                                                                                                         COMPOSITE
                                                                                                          EXHIBIT B
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Apple Card                                    Asta Funding Inc                             Audi Financial
Lockbox 6112                                  210 Sylvan Ave                               1401 Franklin Blvd
PO Box 7247                                   Englewood Cliffs, NJ 07632-2532              Libertyville, IL 60048-4460
Philadelphia, PA 19170-0001


Audi Financial                                BLOOMINGDALES/AMEX                           Bank of America
2200 Woodland Pointe Ave                      PO BOX 8218                                  P.O. Box 15027
Herndon, VA 20171-5874                        Mason, OH 45040-8218                         Wilmington, DE 19850-5027



Bank of America                               Bank of America                              Barclays Bank Delaware
PO Box 982238                                 POB 2864                                     100 S. West St.
El Paso, TX 79998-2238                        Transaction Processing CT2-515-BB-12         Wilmington, DE 19801-5015
                                              Hartford, CT 06101-2715


Barclays Bank Delaware                        Barclays Bank Delaware                       Black Card Mastercard
Attn: Bankruptcy                              PO Box 8803                                  250 Veronica Lane
Po Box 8801                                   Wilmington, DE 19899-8803                    Jackson, WY 83001-8331
Wilmington, DE 19899-8801


Black Card Mastercard                         Bloomingdales                                BounceyNet Inc.
Card Services                                 1000 3rd Ave                                 3497 Derby Lane
PO Box 8802                                   New York, NY 10022-1230                      Fort Lauderdale, FL 33331-3510
Wilmington, DE 19899-8802


BounceyNet Inc.                               Brian M. Gaines                              Bristol 503 Inc.
c/o Michael C. Fasano, Esq.                   c/o Benjamin H Brodsky, Esq.                 c/o Carlos X. Rodriguez, Esq.
2 S. Biscayne Blvd., Suite 2530               200 SE 1 Street, Suite 400                   800 Douglas Road, Suite 880
Miami, FL 33131-1806                          Miami, FL 33131-1906                         Douglas Entrance, North Tower
                                                                                           Miami, FL 33134-2088

Bristol 503 LLC                               CLL Holdings LLC                             Cadillac Financial
5901 SW 74th St.                              18317 W Dixie Hwy                            P. O. Box 33169
Miami, FL 33143-5165                          North Miami Beach, FL 33160-2071             Detroit, MI 48232-5169



Cadillac Financial                            Capital One                                  Capital One
PO Box 404                                    P.O. Box 85147                               PO BOX 30281
Cadillac, MI 49601-0404                       Richmond, VA 23276-0001                      Salt Lake City, UT 84130-0281



Capital One Bank                              Causeway Square LLC                          Causeway Square LLC
PO Box 30285                                  1801 NE 123rd Street, Suite 300              c/o Alexandra N. Fonseca, Esq.
Salt Lake City, UT 84130-0285                 Miami, FL 33181-2880                         550 NE 124th Street
                                                                                           Miami, FL 33161-5424


Celtic Bank/Indigo                            (p)JPMORGAN CHASE BANK N A                   City of Sunny Isles Beach
PO Box 4499                                   BANKRUPTCY MAIL INTAKE TEAM                  18070 Collins Avenue
Beaverton, OR 97076-4499                      700 KANSAS LANE FLOOR 01                     North Miami Beach, FL 33160-2723
                                              MONROE LA 71203-4774
                                  Case 22-14959-LMI    Doc 63         Filed 08/15/22   Page 16 of 22
Comenity Bank/JCrew                           Corporation Service Company                   Crate & Barrell
PO Box 182789                                 PO Box 2576                                   1250 Techny Rd.
Columbus, OH 43218-2789                       Springfield, IL 62708-2576                    Northbrook, IL 60062-5419



Credit One Bank                               Credit One Bank Na                            DDR SOUTHEAST FOUNTAINS, L.L.C.
PO Box 60500                                  Po Box 98875                                  3300 Enterprise Parkway
City of Industry, CA 91716-0500               Las Vegas, NV 89193-8875                      Beachwood, OH 44122-7200



DDR Southeast Fountains, LLC                  Day to Day Imports, Inc.                      Day to Day Imports, Inc.
c/o Alan Burger, Esq.                         c/o Aryeh Kaufman, Esq.                       c/o Kenneth E. Chase, Esq.
505 S Flagler Dr., Suite 300                  5482 Wilshire Boulevard, #1907                1141 71st Street
West Palm Beach, FL 33401-5942                Los Angeles, CA 90036-4218                    Miami Beach, FL 33141-3674


Deerfield Ice Cream LLC                       Eric P. Stein, P.A.                           Eric R. Schwartz as Trustee UTA
16565 NW 15th Ave                             c/o Eric P. Stein, Esq.                       2412 Barcelona Dr
Miami, FL 33169-5619                          1820 NE 163rd St Ste 100                      Fort Lauderdale, FL 33301-1557
                                              Miami, FL 33162-4801


First Horizon Bank                            First Horizon Bank                            First Horizon Bank
102 NW 37th Ave                               1638 Robert C Jackson Dr                      165 Madison Ave
Miami, FL 33125-4826                          Maryville, TN 37801-3775                      Memphis, TN 38103-2725



First Horizon Bank                            First Horizon Credit Card                     Florida State Attorney’s Office
2109 Ponce de Leon Blvd.                      165 Madison Ave                               175 NW 1st Ave
Miami, FL 33134-5211                          Memphis, TN 38103-2723                        Miami, FL 33128-1835



Frozen Wheels                                 GM Financial                                  Gap
16565 NW 15th Ave                             PO Box 181145                                 2 Folsom Street
Miami, FL 33169-5619                          Arlington, TX 76096-1145                      San Francisco, CA 94105-1205



Gap                                           Graphic World 4 U LLC                         Haisemi Investment LLC
P.O. Box 530942                               16565 NW 15th Ave                             16565 NW 15th Ave
Atlanta, GA 30353-0942                        Miami, FL 33169-5619                          Miami, FL 33169-5619



Halvare Food Services & Distribution LLC      Halvare Group LLC                             Home Depot
16565 NW 15th Ave                             16565 NW 15th Ave                             PO Box 7032
Miami, FL 33169-5619                          Miami, FL 33169-5619                          Sioux Falls, SD 57117-7032



Home Depot                                    Home Financing Center                         Home Financing Center
PO Box 9001010                                400 University Drive, 3rd Floor               500 E. Broward Boulevard, Suite 122
Louisville, KY 40290-1010                     Miami, FL 33134-7114                          Fort Lauderdale, FL 33394-3077
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Iberia Bank                                   (p)IBERIA BANK                                 Iberia Bank
18841 NE 29th Ave                             PO BOX 52747                                   3838 Tamiami Trail
Aventura, FL 33180-2826                       LAFAYETTE LA 70505-2749                        Naples, FL 34103-3586



IberiaBank                                    IberiaBank                                     Indigo Card
2150 Goodlette Rd.                            c/o Paul A. Humbert, Esq.                      15220 NW Greenbrier Pkwy, Suite 200
Naples, FL 34102-4810                         199 East Flagler Street, Suite 1010            Beaverton, OR 97006-5762
                                              Miami, FL 33131-1103


Indigo Card                                   (p)INTERNAL REVENUE SERVICE                    J Crew
PO Box 4477                                   CENTRALIZED INSOLVENCY OPERATIONS              770 Broadway
Beaverton, OR 97076-4401                      PO BOX 7346                                    New York, NY 10003-9553
                                              PHILADELPHIA PA 19101-7346


J. Crew                                       JPMorgan Chase Bank, N.A.                      Keystone Plaza LLC
POB 182273                                    s/b/m/t Chase Bank USA, N.A.                   1801 NE 123rd Street, Suite 300
Columbus, OH 43218-2273                       c/o National Bankruptcy Services, LLC          Miami, FL 33181-2880
                                              P.O. Box 9013
                                              Addison, Texas 75001-9013

Keystone Plaza LLC                            Kopelowitz Ostrow Ferguson Weiselberg          Kopelowitz Ostrow, PA
c/o Alexandra N. Fonseca, Esq.                c/o Seth Haimovitch, Esq.                      c/o Seth Haimovitch, Esquire
550 NE 124th Street                           1 West Las Olas Blvd., 5th Floor               One West Las Olas Blvd., Suite 500
Miami, FL 33161-5424                          Fort Lauderdale, FL 33301-1852                 Fort Lauderdale, FL 33301-1928


Lakura LLC                                    Legacy Sok Assoc LLC                           Legacy Sok Assoc LLC
16565 NW 15th Ave                             302 Datura Street, Suite 100                   c/o Jeremy E. Slusher, Esq.
Miami, FL 33169-5619                          West Palm Beach, FL 33401-5481                 444 W Railroad Ave., Suite 470
                                                                                             West Palm Beach, FL 33401-4156


Lets Get Beauty LLC                           Mayors Jewelers, Inc.                          Mayors Jewelers, Inc.
16565 NW 15th Ave                             1455 NW 107th Ave #264                         19501 Biscayne Blvd., Suite 372
Miami, FL 33169-5619                          Miami, FL 33172-2713                           Miami, FL 33180-2342



Mayors Jewelers, Inc.                         (p)MAYORS JEWELERS INC                         (p)MERCEDES BENZ FINANCIAL SERVICES
19575 Biscayne Blvd., Suite 177               ATTN CREDIT TEAM                               13650 HERITAGE PARKWAY
Miami, FL 33180-2309                          3340 NW 53RD STREET SUITE 402                  FORT WORTH TX 76177-5323
                                              FORT LAUDERDALE FL 33309-6320


Miami Dade County                             Mikon Financial Services and Ocean Bank        Neiman Marcus
111 NW 1st Street, Suite 710                  780 NW 42nd Avenue, Suite 300                  1201 Elm St Suite 2800
Miami, FL 33128-1984                          Miami, FL 33126-5536                           Dallas, TX 75270-2106



Neiman Marcus                                 Niarara Distri LLC                             Nordstrom
One Marcus Square, 1618 Main Street           16565 NW 15th Ave                              1600 7 th Ave. Suite 2600
Dallas, TX 75201                              Miami, FL 33169-5619                           Seattle, WA 98101-2284
                                   Case 22-14959-LMI    Doc 63          Filed 08/15/22   Page 18 of 22
Nordstrom                                      Office of the US Trustee                       Porsche Leasing Ltd
1700 7th Avenue Suite 1500                     51 S.W. 1st Ave.                               One Porsche Drive
Seattle, WA 98101-4419                         Suite 1204                                     Atlanta, GA 30354-1654
                                               Miami, FL 33130-1614


Porsche Leasing Ltd.                           Prosper Card                                   Prosper Card
c/o David O. Caballero, Esq.                   221 Main Street, Suite 300                     P.O. Box 650078
9150 S. Dadeland Blvd., Suite 1400             San Francisco, CA 94105-1909                   Dallas, TX 75265-0078
Miami, FL 33156-7855


RK Centers LLC                                 Saks Fifth Avenue                              Saks Fifth Avenue
17100 Collins Avenue, Suite 225                2 East 49th Street-6th Fl                      225 Liberty St FL 24
North Miami Beach, FL 33160-3675               New York, NY 10017                             New York, NY 10281-1058



Sky 18 Series 2 LLC                            Slingshot Funding LLC Series 18                State Of Florida Department Of Revenue
c/o John P. Arcia, Esq.                        PO Box 645040                                  Po Box 6668
175 SW 7th Street, Suite 2000                  Cincinnati, OH 45264-5040                      Tallahassee, FL 32314-6668
North Miami Beach, FL 33130-2961


Sunshine Terminal 8                            Sychrony Bank - Amazon                         TB Bank/Nordstrom
1521 NW 165th St                               Bankruptcy Dept                                13531 E Caley Ave
Miami, FL 33169-5600                           P.O. Box 105972                                Englewood, CO 80111-6505
                                               Atlanta, GA 30348-5972


TCB & GSD Consulting LLC                       TDRCS/Tourneau                                 Tefolon Developments LLC
16565 NW 15th Ave                              1000 MacArthur Blvd                            16565 NW 15th Ave
Miami, FL 33169-5619                           Mahwah, NJ 07430-2035                          Miami, FL 33169-5619



(p)VOLKSWAGEN CREDIT UNION                     VW Credit Leasing, Ltd                         VW Lease
1401 FRANKLIN BLVD                             c/o VW Credit, Inc.                            5505 N Cumberland Ave. Suite 307
LIBERTYVILLE IL 60048-4460                     PO Box 9013                                    Chicago, IL 60656-4761
                                               Addison, Texas 75001-9013


Venmo                                          Venmo                                          Wandering J LLC
2211 N 1st St                                  95 Morton Street                               16565 NW 15th Ave
San Jose, CA 95131-2021                        Fifth Floor                                    Miami, FL 33169-5619
                                               New York, NY 10014-3336


Wells Fargo Bank                               Wells Fargo Bank NA                            Wells Fargo Bank NA
PO Box 14517                                   299 South Main Street                          One Wachovia Center
Des Moines, IA 50306-3517                      12th Floor                                     301 South College Street
                                               MAC U1228-120                                  Charlotte, NC 28202-6002
                                               Salt Lake City, UT 84111-2580

Wells Fargo Bank, N.A.                         Weston TC, LLC                                 Weston TC, LLC
Wells Fargo Card Services                      1675 Market Street, Suite 213                  225 NE Mizner Blvd, Suite 510
PO Box 10438, MAC F8235-02F                    Fort Lauderdale, FL 33326-3681                 Boca Raton, FL 33432-4083
Des Moines, IA 50306-0438
                                 Case 22-14959-LMI            Doc 63         Filed 08/15/22       Page 19 of 22
Xellva LLC                                           YF 26 LLC                                            YF of South Florida LLC
16565 NW 15th Avenue                                 16565 NW 15th Ave                                    16565 NW 15th Ave
Miami, FL 33169-5619                                 Miami, FL 33169-5619                                 Miami, FL 33169-5619



YL Group Florida, LLC                                Yellowstone Capital LLC                              YoGreen Co LLC
16565 NW 15th Avenue                                 400 SOUTH DIXIE HIGHWAY                              16565 NW 15th Ave
Miami, FL 33169-5619                                 SUITE 12                                             Miami, FL 33169-5619
                                                     Hallandale, FL 33009-6396


Yoldas Sports Medicine LLC                           Eric D Jacobs                                        Erik Gauiter
1601 S Andrews Ave                                   100 N Tampa Street Ste 2600                          c/o Diaz Reus & Targ, LLP
Fort Lauderdale, FL 33316-2509                       Tampa, FL 33602-5810                                 100 SE 2nd Street
                                                                                                          Suite 3400
                                                                                                          Miami, Fl 33131-2122

Giselle Halwani                                      Glenn D Moses Esq                                    Isaac Halwani
274 Atlantic Isle                                    100 SE 2 St #4400                                    274 Atlantic Isle
Sunny Isles, FL 33160-4528                           Miami, FL 33131-2118                                 Sunny Isles, FL 33160-4528



Phillipe Gauiter                                     Robert Semaan                                        Victoria Gautier
c/o Diaz Reus & Targ, LLP                            Duane Morris LLP                                     c/o Diaz Reus & Targ, LLP
100 SE 2nd Street                                    201 S. Biscayne Blvd.                                100 SE 2nd Street
Suite 3400                                           Suite 3400                                           Suite 3400
Suite 3400                                           Miami, FL 33131-2318                                 Suite 3400
Miami, Fl 33131-2122                                                                                      Miami, Fl 33131-2122


                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


AR Resources, Inc.                                   (d)AR Resources, Inc.                                Chase
1777 Sentry Pkwy W Blue                              PO BOX 1056                                          PO Box 15548
Blue Bell, PA 19422                                  Blue Bell, PA 19422                                  Wilmington, DE 19886



(d)Chase Bank USA                                    (d)Chase Bank USA, NA                                (d)Chase Card Services
800 Brooksedge Blvd.                                 P.O. Box 15298                                       P.O. Box 15153
Westerville, OH 43081                                Wilmington, DE 19850                                 Wilmington, DE 19886



(d)Chase Card Services                               Iberia Bank                                          Internal Revenue Service
P.O. Box 15298                                       200 West Congress Street                             Po Box 21126
Wilmington, DE 19850-5298                            Lafayette, LA 70501                                  Philadelphia, PA 19114



(d)JP Morgan Chase Bank                              (d)JP Morgan Chase Bank Auto                         Mayors Jewelers, Inc.
PO Box 15369                                         PO Box 901003                                        3340 NW 53rd St, Suite 402
Wilmington, DE 19850                                 Fort Worth, TX 76101                                 Fort Lauderdale, FL 33309-6320
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Mercedes Benz Financial                                VW Credit
36455 Corporate Rd                                     1401 Franklin Blvd.
Farmington, MI 48331                                   Libertyville, IL 60048




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)170 NE 40 Street, Inc. D/B/A Miami Spaces           (u)FW Distributing, LLC                              (u)Miami
Frank, Weinberg & Black, P.L.
7805 SW 6th Court
Plantation


(u)First Horizon Bank f/k/a Iberianbank                (d)Frozen Wheels, LLC                                (d)Lets Get Beauty LLC
                                                       16565 NW 15th Ave                                    16565 NW 15th Avenue
                                                       Miami, FL 33169-5619                                 Miami, FL 33169-5619



(u)Steven Rhodes                                       End of Label Matrix
                                                       Mailable recipients     164
                                                       Bypassed recipients       7
                                                       Total                   171
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Label Matrix for local noticing                      274 Atlantic Isles LLC                               Brian M. Gaines, as Trustee
113C-1                                               274 Atlantic Isles                                   c/o Meaghan E. Murphy, Esquire
Case 22-14810-LMI                                    Sunny Isles, FL 33160-4528                           200 S Biscayne Blvd. #3200
Southern District of Florida                                                                              Miami, FL 33131-5323
Miami
Mon Aug 15 14:30:43 EDT 2022
Brian M. Gaines                                      Eric P. Stein, P.A.                                  Eric R. Schwartz as Trustee UTA
c/o Benjamin H Brodsky, Esq.                         c/o Eric P. Stein, Esq.                              2412 Barcelona Dr
200 SE 1 Street, Suite 400                           1820 NE 163rd St Ste 100                             Fort Lauderdale, FL 33301-1557
Miami, FL 33131-1906                                 Miami, FL 33162-4801


Eric R. Schwartz as Trustee UTA                      Eric R. Schwartz as Trutee                           Eric R. Schwartz, as Trustee UTA
900 SE 3rd Avenue, Suite 204                         Brodsky Fotiu-Wojtowicz, PLLC                        c/o Benjamin H. Brodsky, Esq.
Fort Lauderdale, FL 33316-1118                       c/o Benjamin H. Brodsky, Esq.                        200 SE 1st Street, Suite 400
                                                     200 SE 1st Street, Suite 400                         Miami, FL 33131-1906
                                                     Miami, FL 33131-1906

(p)INTERNAL REVENUE SERVICE                          Isaac and Giselle Halwani                            Miami Dade County
CENTRALIZED INSOLVENCY OPERATIONS                    274 Atlantic Isle                                    111 NW 1st Street, Suite 710
PO BOX 7346                                          Sunny Isles, FL 33160-4528                           Miami, FL 33128-1984
PHILADELPHIA PA 19101-7346


Office of the US Trustee                             State Of Florida Department Of Revenue               Benjamin H Brodsky
51 S.W. 1st Ave.                                     Po Box 6668                                          200 SE 1st Street, Suite 400
Suite 1204                                           Tallahassee, FL 32314-6668                           Miami, FL 33131-1906
Miami, FL 33130-1614


Glenn D Moses Esq
100 SE 2 St #4400
Miami, FL 33131-2118




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Internal Revenue Service
Po Box 21126
Philadelphia, PA 19114




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                             (u)Coraline Financial Ltd                            (u)Eric R. Schwartz as Trustee UTA
                                                     **DELETED**                                          **DELETED**
                           Case 22-14959-LMI   Doc 63   Filed 08/15/22   Page 22 of 22
End of Label Matrix
Mailable recipients   15
Bypassed recipients    3
Total                 18
